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  This report is for the examination of three “exemplar” Sig Sauer model P-320 handguns
  and two subject P-320 in evidence to determine possible manufacturer defects in
  design.

  #1 58A099357 9mm           Exeter,NH     November 8,2016 SUBCOMPACT
  #2 58C101498 9mm            Newington NH November 18,2017 COMPACT
  #3 58C183837 .40 caliber Newington, NH December 24,2017 FULL SIZE
  #4 58B017511 9mm           Exeter, NH    Date Unknown COMPACT MEDIUM
      (#4 is the subject gun in evidence)
  #5 58A002763 Schneider P-320 in evidence Photographs only




  1) The first exemplar is a 9mm sub compact version bearing serial number 58A099357
  which will be referenced as #1 throughout this report. The second exemplar is a 9 mm
  mid sized version bearing serial number 58C101498, which will be referenced as #2
  throughout this report. The third exemplar is a .40 caliber full sized version bearing
  serial number 58C183837, which will be referenced as #3 throughout this report. The
  fourth “subject” pistol,serial number 58B017511 will be referenced in this report as #4.

  INSPECTION of #1 9mm Serial number 58A099357 SUB COMPACT

  2) I began my examination of #1 which had an overall appearance of 75-80% “good”
  condition. I noticed that there were wear marks on the slide catches and muzzle top end
  of the barrel and under the breach area of the slide which indicates that it has been
  fairly used.There were also holster wear marks on the front right and left side of the
  trigger guard and recoil spring cover of the grip module.The twelve round magazine in
  #1 had several wear marks along its body on all four sides. The night sights were
  dim.The Sig Sauer manufactured box provided, showed a manufacturing date of
  November 8,2016.#1 was an original non upgraded version. The amount of rounds
  previously discharged could not be determined.

  3) I then began to field strip #1 to examine the internal components. The interior was
  clean and free of any debris . After removing the fire control unit (FCU), as it will be
  called throughout this report, from the grip module, I noticed clean oil on parts of the
  FCU, and white grease under the slide catch spring.
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  4) (MANUFACTURING DEFECT) I also removed the striker assembly from the slide. I
  noticed that the striker assembly was also clean. However, I noticed that the safety
  return spring that was under the safety lock was scraping a small groove into the striker
  housing as it moved up and down due to the end of the spring having a sharp edge.
  Eventually this can cause the spring to stick allowing the safety lock to not engage
  properly.




  5) (MANUFACTURING DEFECT) Along the length of the striker I noticed a mold seam
  which indicates that the part was cast metal and not finely finished by machining or
  hand fitting to tighter tolerances. The striker safety lock appeared to be a stamped steel
  part.
  After disassembling the striker assembly, I noticed that the striker, and striker housing
  were cast parts (MIM) (Mold Injected Metal) and not machined parts that were finely
  finished to make better contact.

  6) (DESIGN DEFECT) I noticed that the striker safety notch that the safety lock
  engages to prevent the striker from making contact with the primer was molded with a
  stress“relief” cut in its inner corner which prevented the striker safety lock from making
  full contact with the striker when engaged. Therefore when the safety lock is making
  contact with the striker notch, it is only touching the outer edge of the striker which
  causes less contact pressure between the two parts.

  7) The safety lock foot measured an overall thickness of .84 of a mm and the striker
  notch depth was .81of a mm.

  8) (DESIGN DEFECT) I then began to inspect the FCU internal parts for wear marks.
  One wear mark I noticed was on top of the sear which was made by the striker foot. The
  mark appeared to be off center of the sear which can cause irregular pressure on one
  sear spring located under the rear portion of the sear more than the other. Another issue
  discovered with the striker was that it had a side to side movement of .85 of a mm which
  can result in an improper contact between the striker foot and the sear when recocking
  occurs. When the slide comes fully rearward and the striker is re engaging the sear,
  depending upon the force of the slide in motion, the striker foot can land on the sear
  either straight up and down ,left or right of the sear overlap surface , which is the
  contact area that engages the striker foot.
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  9) (DESIGN DEFECT) With an extra modified slide cap(shorter) installed, I was able to
  view the safety lever pushing the safety lock up,but the lock also showed excessive
  angular (side to side) movement as it went up to disengage the striker. The safety lock
  should only move vertically. This was due to the safety lever not contacting the safety
  lock on its center axis but rather to the right side of the safety lever. I also noticed a
  slight “air gap” between the top of the safety lever and the bottom of the safety lock
  when at rest. This gap appeared to be approximately half a millimeter. Taking the “air
  gap” of .50 of a mm into consideration and the thickness of the safety lock (.84 mm), all
  you need is a maximum movement of 1.38 mm to disengage the safety lock! Also with
  the slide to grip module downward movement of .39 of a mm, the amount of movement
  to totally disengage the safety lock is less than 1mm!

  10) I was also able to fully view the striker foot and sear engagement as I was able to
  see that the striker foot was connected to the sear overlap on an angle rather than
  straight up and down.
  I was also able to notice that the striker moved with the slide up and down while the
  sear stayed in place and did not move.

  11) (MANUFACTURING DEFECT) Another thin wear mark/line was on the top edge of
  the sear which appeared to be less than 1mm in height, but the height of the sear
  overlap measured was a total of 2.18mm. This appeared to be the only contact between
  the sear overlap and the striker foot overlap.A wear mark such as this shows that the
  leading edge is not sharp due to “rollover” which would be critical in allowing the striker
  foot overlap (1.44mm) to maintain full contact with the sear overlap. This lack of contact
  is due to “rollover” that occurs when a cast or “MIM” (Mold Injected Metal) part is used
  that has not been machined completely flat by either the subcontractor who
  manufactured the MIM part for Sig Sauer , or Sig Sauer themselves failed to do so once
  they received the part from the subcontractor. This was substantiated by my direct
  correspondence with one of Sig Sauers own subcontractors (OptiMIM) who
  stated,:”Optimim follows the specific part specifications from our customer who
  designs these components. It greatly depends on the customer and subsequent
  processing the component may see after we ship. Generally speaking, we tumble
  the parts to remove sharp edges. Specifications for flatness of surfaces vary by
  part and application”. The subcontractor continued to state: “Rolled edges are
  not normally acceptable, unless part will see subsequent machining of the
  surface to remove this condition.” (See email attached to report) I then noticed a
  thin wear mark on the overlap surface of the striker foot which also appears to not be
  sharp. Out of 1.44mm of striker foot overlap, less than 1 mm comes into actual contact
  with the sear overlap of 2.18mm due to “rollover”.
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  12) (DESIGN DEFECT) After removing the trigger from the FCU, I noticed dried ,dirty
  ,and solidified white grease behind the trigger on the FCU housing.This can be of
  concern as dried grease can cause the trigger to “stick” by not allowing the trigger to
  come fully forward after firing the sidearm. If the trigger does not come fully forward, the
  safety lever cannot return to its fully lower (horizontal) or inward (vertical) position. This
  inturn causes the safety lock to stay disengaged from the striker. The safety lock has a
  gap of approximately half of a mm between itself and the top of the safety lever before
  the safety lever engages it. The thickness of the safety lock itself is only .84 of a mm.
  Therefore a nominal movement of the trigger ,1.38mm, allows the safety to be
  disengaged.

  13) (DESIGN DEFECT) Any slight movement or sticking of the trigger causes the safety
  lever to disengage the safety lock as the safety lever moves immediately when the
  trigger moves. There is no time delay in the movement of the safety lever when the
  trigger is pressed to the rear. There is no mechanical delay or “camming” effect between
  the trigger/trigger bar and the safety levers upward/outward movement.




  14) (DESIGN DEFECT) Another issue observed was that the rear portion of the coils to
  the sear springs make contact with the sear housing as you can see wear marks from
  the springs on the inside of the plastic sear housing.

  15) (MANUFACTURING DEFECT) Another defect noted was with the slide cap height.
  The overall height of the slide cap measured 18.28 mm. When the slide was
  compressed downward towards the grip module, the slide cap made contact with the
  top of the plastic sear housing. When the slide was not compressed, there was a gap
  between the cap and sear housing of approximately .38 of a mm. If debris is caught in
  that gap, then when the slide is compressed downward, the sear, which is located
  directly behind the cap, can be forced downward causing the striker to be released and
  fire a round. On all three slide caps measured, there was a height variance noted
  (#1/18.28mm, #2/18.32mm,#3/18.38mm). This could be a result of different
  subcontractors using different formulas in their MIM process which resulted in a final
  size difference after the MIM process is completed or an inconsistent formula by one or
  more subcontractors.

  16) (DESIGN DEFECT) I observed that the trigger bar spring makes contact with the
  back spine of the magazine when the trigger is pressed. This is noted by the wear mark
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  at the top right corner of the magazine along with visual observation while looking up
  the empty magazine well, you can clearly see that the trigger bar spring protrudes into
  the magazine well without a magazine inserted.




  17) The FCU housing was engraved,”NEWINGTON N.H.” Whether the complete FCU
  or just the housing was manufactured in Newington NH is unknown. The frame was
  marked,”EXETER NH”




  18) PARTS MEASUREMENT LIST #1

  The total sear overlap was measured at 2.18mm.
  The striker overlap measured 1.44mm
  The slide cap height measured 18.28mm
  Rail thickness was 1.96mm
  Slide rail gap was 2.35mm
  Slide downward movement measured .39 of a mm
  Lateral movement of the striker foot measured .85 of a mm
  Striker safety plate foot thickness .84 of a mm
  Striker safety notch .81 of a mm
  Safety lock thickness .84 of a mm

  19) INSPECTION OF #2 9mm Serial number 58C101498 SUB COMPACT

  20) The overall condition appeared to be 95-98% condition resale value. This exemplar
  came with a Sig Sauer manufactured paddle outside the waistband synthetic holster.

  21) (DESIGN DEFECT) Side observation: As I inspected the Sig Sauer manufactured
  holster with #2 fully inserted, I noticed a severe design flaw immediately with the holster.
  Even though the provided holster was clearly marked on the backside,
  (”WARNING,READ INSTRUCTIONS,PAT PENDING P250 FULL SIZE,P250
  COMPACT”) and since both the Sig P-250 and Sig P-320 share the same body profile
  and both firearms fit into the holster, the holster was designed to allow the trigger to be
  exposed on the “body side” which could easily allow a foreign object such as a shirt tail,
  draw string, or other unknown object to make contact with the trigger causing it to be
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  unintentionally pressed to the rear when the wearer moves or attempts to remove the
  holster from the users beltline which could result in an unintended discharge. Another
  design flaw I noticed was that the magazine release button was exposed, which could
  allow an unintended ejection of the magazine.

  22) After removing the slide from the grip module, I saw that the rear of the striker
  housing area had been freshly milled and unfinished. This is indicative of a 320 that was
  returned to Sig Sauer after the point of sale for the “voluntary upgrade Program”.

  23) The interior of #2 appeared to be clean and free of debris. I began to disassemble
  the firearm completely and began measuring critical parts of the striker and FCU as I did
  with #1. After measuring these components, the size differences were compared to #1
  and annotated in the comparison chart of this report.

  24) (MANUFACTURING DEFECT) After disassembling the striker assembly, I noticed
  that the striker, and striker housing were cast parts (MIM) (Mold Injected Metal) and not
  machined parts. The use of cast parts can cause dimensional differences in contact
  surfaces.

  25) (MANUFACTURING DEFECT) I also removed the striker assembly from the slide. I
  noticed that the striker assembly was also clean. However, I noticed that the safety
  return spring that was under the safety lock was scraping a small groove into the striker
  housing as it moved up and down due to the end of the spring having a sharp edge.
  Eventually this can cause the spring to stick allowing the safety lock to not engage
  properly. This was also apparent in #1.




  26) (DESIGN DEFECT) The major visual difference between #1 and #2 noticed was the
  addition of a “disconnector arm” to the FCU of #2 and a new sear which now had a
  secondary sear overlap 6mm forward of the primary sear overlap area.Also noted was
  that the primary sear overlap contact area was reduced in size from #1 from 2.18mm
  down to 1.13mm! The striker overlap contact area measured 1.30mm which has a
  larger overlap area than that of the sear overlap area itself. This allows a .17 of a mm of
  the striker foot overlap that never makes contact with the sear overlap!



  27) (DESIGN DEFECT) With an extra modified slide cap(shorter) installed, I was able to
  view the safety lever pushing the safety lock up,but the lock also showed excessive
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  angular (side to side) movement as it went up to disengage the striker as in #1. The
  safety lock should only move vertically.



  28) (DESIGN DEFECT) The addition of a secondary sear overlap area to act as a
  “failsafe” in the event the striker foot does disengage unintentionally from the primary
  sear overlap is a design flaw within itself. The Sig Sauer P-320 was designed to fire
  from a fully “energized'' striker position with a fully compressed striker spring. If an
  unintended release of the striker foot from the primary sear overlap does occur ,and the
  striker begins a forward movement, and the secondary sear overlap does in fact catch
  the striker foot and prevents an unintended discharge as Sig Sauer designed the
  upgraded sear to be, the P-320 is now in a partially “energized” position. When the user
  attempts to fire the sidearm, a light primer hit may occur and the round may not
  discharge! The fact that the striker spring now has less compressed energy to fully
  strike the primer is in question. A lighter primer strike may not ignite the primer
  depending upon the type of primer used in the ammunition carried as some primer
  bases are thicker than others which need a fully energized striker to ignite it.

  29) The FCU housing was engraved,”NEWINGTON N.H.” Whether the complete FCU
  or just the housing was manufactured in Newington NH is unknown.




  30) PARTS MEASUREMENT LIST #2

  Sear overlap was measured at 1.13 mm
  Striker overlap 1.30 mm
  Slide cap height 18.32 mm
  Rail thickness 2.13 mm
  Slide rail gap 2.37 mm
  Slide downward movement .24 of a mm
  Lateral movement of striker foot .53 of a mm
  Striker safety plate foot thickness .83 of a mm
  Striker safety notch .85 of a mm
  Lack of overlap (sear/striker foot) .17 of a mm.
  Safety lock thickness .83 of a mm
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  31) INSPECTION of #3 .40 caliber Serial number 58C183837 FULL SIZE

  32) The overall appearance is in “new condition” 100% resale value as it had only 100
  test rounds discharged since purchased from the owner.

  33) This model had the upgrade completed by Sig Sauer prior to the point of sale.

  34) After removing the FCU, I observed it to be clean and free of debris. The upper slide
  assembly appeared to also be in new condition.

  35) (DESIGN DEFECT) I noticed that the safety lever also moved immediately upon
  pressing the trigger rearward.
  There was also a visual gap between the top of the safety lever and the bottom of the
  safety lock of approximately half of a mm and a movement of approximately 1.33 mm of
  the trigger can cause the safety lock to be disengaged from the striker as the thickness
  of the safety lock was .83 of a mm.



  36) (DESIGN DEFECT) With an extra modified slide cap(shorter) installed, I was able to
  view the safety lever pushing the safety lock up,but the lock also showed excessive
  angular (side to side) movement as it went up to disengage the striker. Both #1 and 2
  showed this movement. The safety lock should only move vertically.



  37) (MANUFACTURING DEFECT) After disassembling the striker assembly, I noticed
  that the striker, and striker housing were cast parts (MIM) (Mold Injected Metal) and not
  machined parts. Along the length of the striker I noticed a mold seam which indicates
  that the part was cast metal and not finely finished by machining to tighter tolerances.
  The striker safety lock appeared to be a stamped steel part as with #1 and #2.

  38) (DESIGN DEFECT) The major visual difference between #1 and #3, I noticed was
  the addition of a “disconnector arm” to the FCU like in#2 ,and a new sear which now
  had a secondary sear overlap 6mm forward of the primary sear overlap area.The
  addition of a secondary sear overlap area to act as a “failsafe” in the event the striker
  foot does disengage unintentionally from the primary sear overlap is a design flaw within
  itself. The Sig Sauer P-320 was designed to fire from a fully “energized'' striker position
  with a fully compressed striker spring. If an unintended release of the striker foot from
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  the primary sear overlap does occur ,and the striker begins a forward movement, and
  the secondary sear overlap does in fact catch the striker foot and prevents an
  unintended discharge as Sig Sauer designed, the P-320 is now in a partially “energized”
  position. When the user attempts to fire the sidearm, a light primer hit may occur and
  the round may not discharge! The fact that the striker spring now has less compressed
  energy to fully strike the primer is in question. A lighter primer strike may not ignite the
  primer depending upon the type of primer used in the ammunition carried.

  39) (DESIGN DEFECT) I observed that the trigger bar spring makes contact with the
  back top right side of the spine of the magazine when the trigger is pressed. This is
  noted by the wear mark at the top right corner of the magazine along with visual
  observation while looking up the empty magazine well, you can clearly see that the
  trigger bar spring protrudes into the magazine well without a magazine inserted.

  40)PARTS MEASUREMENT LIST #3

  Sear overlap was measured at 1.06 mm
  Striker overlap 1.341mm
  Slide cap height 18.38 mm
  Rail thickness 2.25 mm
  Slide rail gap 2.10 mm
  Slide downward movement .15 of a mm
  Lateral movement of striker foot .61 of a mm
  Striker safety plate foot thickness .83 of a mm
  Striker safety notch .86 of a mm
  Lack of overlap (sear/striker foot) .35 of a mm.
  Safety lock thickness .83 of a mm

  41) Inspection of #4 P-320 entered into evidence Serial #58B017511

  42) This inspection was of a limited nature restricted to a “field strip” only due to this
  sidearm being in evidence as it was the suspect gun used in an unintended
  discharge.This P-320 was a non-upgraded model.

  43) The overall appearance seemed to be 85-90% resale value as there were slight
  wear marks normal with its age. The amount of rounds could not be determined at this
  time. There was slight gunpowder residue along the magazine release housing and take
  down safety lever. There was also gun powder residue on the feed ramp and breech
  face. There were wear marks on the underside of the slide hood. The magazine
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   provided ,showed normal wear marks on its edges with the exception of the right top
   backstrap which had a wear mark from the trigger bar return spring pressing against it
   when the trigger is pressed.This condition was apparent in the other 320’s as well.

   44) After removing the magazine and slide from the grip module then removing the
   recoil spring and barrel from the slide, I began to photograph the FCU for defects.

   45) (MANUFACTURING DEFECT) I was able to observe that the fire control parts were
   also made of “MIM” as like the previously examined pistols.The sear face showed an
   obvious “rollover” condition as did the striker foot. However, It appeared that the left
   corner of the striker foot showed excessive rollover, more so than the other three
   corners of the striker foot. The left upper corner of the sear face also showed a
   corresponding wear mark into its rollover which indicates that this was the ONLY
   portion of the sear that interfaced with the striker foot when fully “energized”. Also noted
   was that the rear portion of the sear (“V” ) notch showed black scrape marks from the
   center raised portion of the sear housing and corresponding marks on the housing. This
   could cause the sear to be stuck lower than needed allowing the striker foot to “walk off”
   of the sear causing a discharge.The sear travel should be unimpeded.

   46) I also noticed that lint had accumulated in front of the sear overlap and around the
   slide cap which is indicative of being carried and clothing lint becoming deposited
   through the slide cap gap and resting on the sear while being carried in a vertical
   position. This could also be a factor in allowing the striker to “ride off” of the sear overlap
   due to continuous slide motion.(up/down/left/right)

   47) I was not able to get an accurate measurement of the following parts due to its
   evidentiary status: sear overlap, striker overlap,striker safety lock foot thickness, striker
   safety notch, and lack of overlap between the sear and striker foot interface.

   48) (DESIGN DEFECT) Not only did the striker foot have side to side movement of .80
   of a mm, but the entire striker housing moved side to side with the striker! The striker
   housing channel appeared to be too large which allowed the striker and housing to
   move side to side which could cause the striker foot to land differently every time the
   slide recoiled rearward.

   49) The FCU housing was stamped “EXETER NH”.

   50)PARTS MEASUREMENT LIST #4
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   Sear overlap      ?
   Striker overlap ?
   Slide cap height 18.56 mm
   Rail thickness 1.81 mm
   Slide rail gap 2.43 mm
   Slide downward movement .62 of a mm
   Lateral movement of striker foot .80 of a mm
   Striker safety lock foot thickness ?
   Striker safety notch .?
   Lack of overlap (sear/striker foot) ?
   Safety lock thickness .74 of a mm

   51) I would recommend that the subject P-320 be subjected to either x-ray or CT
   scanning to determine any interior dimensions and possible unintended contact
   between parts such as the sear springs against the sear housing, lack of striker overlap
   in relation to the sear overlap, trigger bar spring touching the backstrap of the magazine
   when trigger is pressed. Also, a CT scan difference between the slide at “rest” and the
   slide compressed downward towards the grip module to see the “air gap” between the
   safety lever and safety lock removed.

   52) After examining all three exemplar firearms I fired 100 rounds each of GECO 9mm
   124 grain full metal jacket rounds through both firearms #1 and #2.

   53) Exemplar #3 did not have test rounds put through it as there were no .40 caliber
   ammunition available on the market at that time.

   54) After returning from the range, I disassembled both #1 and #2 again, and reviewed
   the interior. I observed that there was gunpowder residue on the feed ramp,barrel,
   breech face, trigger pin on both sides, magazine catch housing and the safety takedown
   lever.

   55) The only concern I had with the deposits of gunpowder locations was the trigger pin
   area. As noticed previously during the initial inspection, I discovered dried dirty white
   grease behind the trigger pivot points. After continuous shooting, and the deposit of
   gunpowder in this area, it could cause the trigger to stick once released which would
   result in the safety bar remaining up pressing against the safety lock disengaging the
   safety from the striker.
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   56) (MANUFACTURING DEFECT)The inconsistency of the slide cap heights show that
   there is a difference of construction during the MIM process. There is no reason to have
   varying heights of slide caps. This could be a direct result of different subcontractors
   using different formulas during the manufacturing process of MIM. The slide cap was
   not addressed in the “Parts upgrade” page 69 of the SIG P320 TECHNICAL
   ARMORERS MANUAL so all slide caps should be the same size.

   57) The safety lock on the non upgraded versions,( #1 and #4) were not encapsulated
   into the striker housing at its pivot point but the others (#2 and #3) were. During my
   Armorers class, the Sig Employee/Instructor stated that the reason for the
   encapsulation of the pivot point was due to the safety lock moving sideways to allow the
   safety lock return spring to catch behind the lock preventing the safety lock to return to
   its “safe” position.

   58) After reviewing all four Sig Sauer P-320’s, it was obvious that several of the MIM
   parts were not finished to a tighter tolerance by either the subcontractor or Sig Sauer
   themselves before installing these parts. The fact that the MIM parts showed “rollover”
   on the leading edges which prevented full intended contact of the sear and striker
   overlaps with the addition of minimal movement of the trigger/safety lever/safety lock
   which would cause the safety to be disengaged, could lead to an unintended discharge.

   59) Also, the observation of #4’s sear showing signs of lint, could also contribute to the
   lack of sear/striker interface.

   60) There seemed to be no consistency of dimension between the same parts between
   all four P-320’s as reflected in the comparison chart.

   61) (MANUFACTURING DEFECT) Also on page 69 of the SIG P320 TECHNICAL
   ARMORERS MANUAL, it states that the safety lever return spring has been eliminated
   from current production. The safety lever uses “GRAVITY” to rest in the lowered
   position. Although the safety lever return spring is in the #4 subject pistol, the removal of
   the safety lever return spring could also lead to inadvertently disengaging the safety
   lock as the safety lever may not always return to its “lowered’ position. During my P-320
   armorers course, I was issued an upgraded Sig P-320 serial number 58A027023 which
   did not have a safety lever return spring installed and upon examination of the grip
   module without the slide attached and with rearward pressure of the trigger, the safety
   lever remained in the “up” position and needed to be manually pushed down everytime.
   This is in direct contradiction to the printed statement of the manual.
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   62) Another issue observed was the information provided in the owner’s manual which
   states: “DO NOT LUBRICATE OR ALLOW LUBRICANT TO FLOW INTO THE
   STRIKER CHANNEL OF THE SLIDE. THIS MAY CAUSE A LIGHT STRIKE TO THE
   CARTRIDGE RESULTING IN A FAILURE TO FIRE”. But when involving lubrication of
   the grip module the owner’s manual states: “ APPLY CLP/LSA TO ACCESSIBLE
   FUNCTIONING PARTS”!

   63) This instruction is in direct contradiction to the first direction due to once the grip
   module is lubricated then the P-320 is then holstered, the sidearm is then in a slightly
   angular vertical position which will allow oil to “gravitate” forward towards the striker
   assembly!

   64) Having a striker fired sidearm designed with a “fully energized” (cocked) position
   striker while holstered with the addition of varying sized improperly fit or unfinished
   parts, could lead to an unintended discharge.

   65) After reviewing the sear and striker foot overlaps, it was apparent that there was no
   attempt to machine these surfaces by either the subcontractor or Sig once they received
   the parts to insure full contact between them.

   66) After cataloging and examining in detail all photographs taken of the P-320’s in this
   examination, I found the following further issues involving design defects.

   67) (DESIGN DEFECT) with #2, I noticed that the rear portion of the sear showed signs
   of dragging along the back inner portion of the sear housing as there were black scrape
   marks on the rear inner portion of the sear as it appeared to be riding along the raised
   center edges of the housing. This could cause significant interference with the operation
   of the sear as its up and down motion can be interrupted allowing the sear to be stuck
   lower than needed to properly catch the striker foot overlap which could lead the striker
   foot to “walk off” easier. With the sear being stuck in a slightly lower position, and a
   “walk off” occurred, the secondary sear notch would be ineffective as its position would
   also be lower than needed.

   68) (DESIGN DEFECT) with #2 again, I noticed in the closeup photographs of the right
   side of the trigger area that there were drag marks in the FCU housing caused by
   improper alignment of the trigger bar as the inner portion of the trigger bar was pressing
   against the housing. This problem could very easily cause the trigger itself along with
   dried grease/oil or carbon buildup from weapon discharge to remain rearward after
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   releasing the trigger after firing the P-320 enough to disengage the safety lock due to its
   short travel needed (1.38mm).

   69) (DESIGN DEFECT) After disassembling the FCU of #2, I also noticed that the top
   portion of the trigger was also dragging on the inner portion of the takedown safety lever
   as there was a worn drag mark along the top portion of the trigger and inner portion of
   the takedown safety lever. More detailed photographs were then taken specifically of
   these issues and added to the file.

   70) INSPECTION OF SCHNEIDER P-320 EVIDENCE PICTURES SHOWING DESIGN
   DEFECT.

   71) Inspection of photographs of the Schneider Sig Sauer P-320 provided to me by Mr.
   Schneider’s attorney, in a report which was prepared for him by expert Bill Munsell, I
   was able to notice out of 8 photos provided that in photo number 6, which depicted the
   bottom right side view of the striker assembly, it appeared that there was discharge
   debris covering the striker assembly, primarily the safety lock, as it was pictured in the
   “safe” position. Further examining this photograph, it was obvious that the inner right
   side portion of the safety lock was dragging against the striker housing as the surface of
   the safety lock along the drag mark portion was clean, but the rest of the safety lock
   was dirty from discharge debris as you can clearly see the outline of the striker housing
   on the upper portion of the lock. This dragging can cause the safety lock to remain in
   the “fire” position allowing an uncommanded discharge.

   72) In regards to all of the above referenced design or manufacturing defects, the
   various sizes of internal parts and having a wide range of motion between these parts, I
   concur with Sig Sauers own assessment which states that “like any mechanical
   device,exposure to acute conditions (e.g. shock,vibration,heavy or repeated
   drops) may have a negative effect on these safety mechanisms and cause them
   to not work as designed.”
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   Comparison Chart
    Comparison Chart                        #1      #2       #3       #4

    SEAR OVERLAP                            2.18    1.13     1.06

    STRIKER OVERLAP                         1.44    1.30     1.41

    SLIDE CAP HEIGHT                        18.28   18.32    18.93    18.56

    RAIL THICKNESS                          1.96    2.13     2.25     1.81

    SLIDE RAIL GAP                          2.35    2.37     2.10     2.43

    DOWNWARD MOVEMENT OF SLIDE              .39     .24      .15      .62

    LATERAL MOVEMENT OF STRIKER FOOT        .85     .53      .61      .80

    STRIKER SAFETY LOCK FOOT THICKNESS      .84     .84      .83

    STRIKER SAFETY NOTCH                    .81     .85      .86

    LACK OF OVERLAP (SEAR/STRIKER)          .74     .17      .35

    SAFETY LOCK THICKNESS                   .84     .83      .83      .74




   Peter Villani
